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                                                                     CLERK, U.S. DISTRICT COUF .
                 IN THE UNITED STATES DISTRICT COURT                   DISTRICT OF MONTANA ·
                                                                        BILUNGS, MONTANA
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

 UNITED STATES OF AMERICA,
                                                  CR 09-80-BLG-SPW-2
                       Plaintiff,

 vs.                                                ORDER

 SHIMMER! S. SELPH,

                       Defendant.

       Upon the Defendant's Motion for Early Termination of Supervision (Doc.

178), pursuant to 18 U.S.C. § 3583(e)(l) and Fed. R. Crim. P. 32.l(c)(2), and good

cause being shown,

       IT IS HEREBY ORDERED that the Defendant's motion is GRANTED.

Shimmeri Selph's supervision is terminated as of the date of this Order.

       The Clerk shall notify the U.S. Probation Office of the making of this Order.
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       DATED this    J2day of October, 2017. ~

                                            ~~~J~d/
                                            /SlJSANi WATTERS
                                             United States District Judge
